     Case 2:22-cv-00319-TOR        ECF No. 138    filed 01/08/25   PageID.5135     Page 1
                                             of 2



 1   -

 2

 3

 4                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 5

 6        NICHOLAS ROLOVICH,
                                                    NO. 2:22-CV-0319-TOR
 7                                Plaintiff,
                                                    ORDER CORRECTING CLERICAL
 8             v.                                   MISTAKES

 9        WASHINGTON STATE
          UNIVERSITY, an agency of the State
10        of Washington,

11                                Defendant.

12

13            BEFORE THE COURT is Defendant’s Motion to Correct Clerical Mistake.

14   ECF No. 137. Defendant’s motion is granted.

15            The Court corrects the following clerical mistakes in ECF No. 135:

16            The motions were considered without oral argument.

17            The Court removes the citation to Balint v. Carson City, 180 F.3d 1047,

18   1054 (9th Cir. 1999) (en banc) and affirms the Court’s citation to Groff v. DeJoy,

19   600 U.S. 447, 468 (2023). This does not change the conclusion of the Court.

20   //



           ORDER CORRECTING CLERICAL MISTAKES ~ 1
     Case 2:22-cv-00319-TOR      ECF No. 138    filed 01/08/25    PageID.5136     Page 2
                                           of 2



 1   ACCORDINGLY, IT IS HEREBY ORDERED:

 2         These changes are now of record.

 3         The District Court Executive is directed to enter this Order and furnish

 4   copies to counsel and the file remains CLOSED.

 5         DATED January 8, 2025.

 6

 7
                                   THOMAS O. RICE
 8                              United States District Judge

 9

10

11

12

13

14

15

16

17

18

19

20




       ORDER CORRECTING CLERICAL MISTAKES ~ 2
